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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                             8:13-CR-43

vs.
                                                           ORDER
JESSICA MARIE HERNANDEZ,

                  Defendant.

       This matter is before the Court on the defendant's pro se motion (filing
768) to amend her presentence investigation report (PSR), based on the
alleged omission of changes required by Amendment 782 to the Sentencing
Guidelines. The defendant's motion will be denied.
       The defendant was sentenced on July 11, 2015, and the Court
sustained the parties' motion for a two-level decrease, pursuant to Justice
Department policy, during the interim period before Amendment 782 became
fully effective. See filing 427 at 3. As part of that motion, the defendant
stipulated that she would seek no further decrease. And, having already
received the two-level reduction contemplated by Amendment 782, she is
entitled to no further decrease. For that reason, the Court has already denied
the defendant's motion for sentence reduction (filing 536). See filing 624.
       Undeterred, the defendant has filed a "Motion to Amend PSR and
Judgment" (filing 768). She claims that the PSR contained an incorrect
sentence calculation because it omitted a two-level reduction based on
Amendment 782, and that the PSR—and, additionally, the judgment—should
be "corrected."
       It is the defendant who is incorrect. As the Court found at sentencing,
the PSR was correct in all respects. The defendant was sentenced on July 11,
2015, and the PSR appropriately used the Guidelines Manual in effect on
that date. See U.S.S.G. § 1B1.11(a). But, "the Court sustained the parties'
motion for a two-level decrease in the Guidelines pursuant to DOJ's policy,
during the interim period while drug offense Guidelines are being
reconsidered/adjusted." Filing 427 at 3. In other words, the defendant's initial
Guidelines range was calculated based on the Guidelines in effect at the time,
but the Court varied downward to give the defendant the benefit of the
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pending two-level decrease. The PSR and judgment are correct, and will not
be amended.1
      The Court does not know how to make this any more clear to the
defendant: she has already received the two-level decrease in offense level
provided for by Amendment 782. She is entitled to no further reduction.

       IT IS ORDERED:

       1.     The defendant's motion (filing 768) is denied.

       Dated this 2nd day of December, 2015.

                                                   BY THE COURT:



                                                   John M. Gerrard
                                                   United States District Judge




1 Furthermore, even if the judgment was in error—and to be clear, it is not—the Court's

authority to amend more than 14 days after sentencing is limited to circumstances that are
not alleged to be present here. See, Fed. R. Crim. P. 35; Fed. R. Crim. P. 36; United States v.
Yakle, 463 F.3d 810, 811 (8th Cir. 2006).



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